        Case 1:17-cr-00548-JMF Document 1067 Filed 06/29/23 Page 1 of 3
                                         U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York

                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                     June 29, 2023

BY ECF

Hon. Jesse M. Furman
United States District Judge
Southern District of New York
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Joshua Adam Schulte,
               S3 17 Cr. 548 (JMF)

Dear Judge Furman:

        The Government respectfully submits this letter pursuant to the Court’s Order, dated June
22, 2023, directing the Government to (a) “ensure that a PDF viewer is available to Defendant” on
the discovery review computer at the Metropolitan Detention Center (“MDC”), and (b) “provide
to Defendant a copy (or the original) of” “the notebooks and CD-ROMs that were seized from his
cell pursuant to the searches that occurred last fall.” (D.E. 1062 at 3).

       I.      Access to a PDF Viewer

        The discovery review computer to which the defendant has access at the MDC has the
program Quick View Plus installed on it, which allows him to view PDFs and a variety of other
file types. The Government has conferred with the MDC court liaison and information technology
staff, which provided the Government with a list (attached as Exhibit A) of file formats supported
by Quick View Plus, including, among many others, PDF and Microsoft Excel files. The MDC
court liaison also personally confirmed that the discovery computer to which the defendant has
access is in fact capable of opening PDF files, as reflected in the attached image (Exhibit B). The
undersigned have also been able to use Quick View Plus installed on Government computers to
open successfully a sample of PDF files provided to the defendant in discovery, including files
that were scanned without OCR. (See D.E. 1041 at 5). After conferring with MDC staff, the
Government has not been able to confirm precisely when Quick View Plus was installed on MDC
computers, but the best recollection of MDC staff is that some version of the software has been
available for several years.
        Case 1:17-cr-00548-JMF Document 1067 Filed 06/29/23 Page 2 of 3

                                                                                            Page 2


       II.     Return of Notebooks and CD-ROMs

        Today, the Government delivered by hand to the MDC copies of all 12 notebooks that were
seized on or about October 5, 2022, from the defendant’s cell and copies of 14 of the 64 compact
discs seized by the FBI from the defendant’s cell, following a preliminary review by members of
the wall team—pursuant to the terms of the search warrants—to ensure that they did not appear to
contain potential contraband or classified information. MDC legal staff confirmed that those
materials were provided to the defendant in person.

        With respect to the CDs, in view of the volume of material, on June 23, 2023, the
Government asked standby counsel by email for “any guidance that you/[the defendant] can
provide about which ones the wall team should prioritize that may have the work product that he’s
been referring to that he needs.” To facilitate that process, on June 26, 2023, the Government
provided standby counsel with photographs of the outside of all of the discs that had been seized
from the defendant’s cell, reiterated the request for any assistance from standby counsel or the
defendant in identifying the discs that “contain the material that he’s looking for” and that
Government was “happy to have the wall team put those at the top of the list,” and offered to
confer with standby counsel “to discuss any ways that we can be most efficient about addressing
particular items that [the defendant] wants to have soonest.” The Government did not receive a
response to these requests.

         Of the 64 discs seized from the defendant’s cell, the labels of 26 discs identify them as
materials provided by the U.S. Attorney’s Office (largely in connection with the June 2022 trial).
The contents of those discs, which contain discovery and trial materials, already were provided to
the defendant on (a) discs containing the trial related materials provided to the defendant at the
MDC in October and November 2022 and (b) a discovery hard drive provided to the defendant at
the MDC in April 2023. Six other discs were marked as pertaining to “Schulte v. Bureau of Prisons
et al., 20 Civ. 2795 (PGG) (GWG),” a civil case unrelated to this pending criminal litigation, and
in which the defendant is represented by counsel. Accordingly, the Government has not provided
the defendant with copies of those 32 discs.

        The wall team conducted the preliminary review of the 32 other discs. Six were blank.
From the remaining 26 discs, the wall team identified five discs as containing potentially classified
material, which the Government is providing to walled-off personnel from the original classifying
authority for formal classification review. The wall team identified two discs as containing
potential child sexual abuse materials and/or other inappropriate images, which have been
segregated for further review and handling pursuant to the terms of the Adam Walsh Act. The
wall team identified five discs that appeared to contain data but that the wall team was unable to
open, suggesting that the data on those discs had been encrypted; those discs are being provided
to a walled-off computer examiner for further analysis. The remaining 14 discs comprise the
material that has been returned to the defendant today.

        To the extent that the ongoing wall review of the other 12 discs determines that copies of
them may be provided to the defendant, the Government will do so promptly. Because of the wall
review process required by the various search warrants, the undersigned are not able to estimate at
this time precisely how long it will take to reach a final determination on all of those materials.
        Case 1:17-cr-00548-JMF Document 1067 Filed 06/29/23 Page 3 of 3

                                                                                        Page 3


As indicated in the Government’s June 23 and 26, 2023 communications to standby counsel,
however, to the extent that the defendant or standby counsel is able to identify the discs most
pertinent to the defendant’s preparation for the upcoming trial, the Government will seek to
expedite the review of any identified materials as soon as possible.

                                              Respectfully submitted,

                                              DAMIAN WILLIAMS
                                              United States Attorney


                                        by:             /s/
                                              David W. Denton, Jr. / Michael D. Lockard /
                                                 Nicholas S. Bradley
                                              Assistant United States Attorneys
                                              (212) 637-2744 / -2193 /-1581


cc:    Standby counsel (by ECF)
       Joshua Adam Schulte (by U.S. Mail)
